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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:05CR3138
                                       )
            V.                         )
                                       )
PHILLIP EMANUEL CAMACHO,               )                 JUDGMENT
                                       )
                  Defendant.           )
                                       )


      Pursuant to the memorandum and order entered this date,

      JUDGMENT is entered for the United States of America, and against the
defendant, Phillip Emanual Camacho, providing that he shall take nothing, and his
motion to vacate conviction (filing 133) is denied with prejudice.

      January 8, 2007                 BY THE COURT:

                                      s/Richard G. Kopf
                                      United States District Judge
